             Case 4:04-cr-40021-MJR                       Document 189 Filed 05/09/05                    Page 1 of 6         Page ID
                                                                    #335
%A0 245B       (Rev. 12/03) Judgment in a Criminal Case
               Sheet 1




                                                SOUTHERN          District of         ILLINOIS
UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIMINAL CASE
v.
DEMETRIUS D. JOHNSON
      a/k/a "Mete"                                                       Case Number:

                                                                         USM Number:                         06298-025

                                                                         John D. Stobbs, I1
                                                                         Defendant's Attorney
THE DEFENDANT:
[XI pleaded guilty to count(s)
-                                     1 and 2 of the Third Superseding Indictment
                                                                                                               FILED
0 pleaded nolo contendere to count(s)
-                                                                                                              MAY 0 9 2005


The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                         Offense Ended             Count
21:84l(a)(l)&841(b)(l)             Conspiracy to Possess with Intent to Distribute 5 Grams or More           April 24,2004              1
(B) and 21 :846                    of "Crack Cocaine"

18:922(g)(l)                       Felon in Possession of a Firearm                                          April 24,2004              2




       The defendant is sentenced as provided in pages 2 through                  6      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)
-
0 Count(s)
-                                                 -
                                                  C! is               are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the Unlted States attomey for this district within 30 da s of any change of name, resjdence,
or mailing address untilall fines, restitution,, costs, and special assessme~tsunposed by thispdgme*t are fuEy paid. If ordered to pay restitution,
the defendant must notify the court and United States attomey of material changes in economc cucumstances.

                                                                          May 4,2005
                                                                          Date oflm osition of Judgment .
                                                                              I




                                                                          James L. Foreman, District Judge
                                                                          Name and Title of Judge
                 Case 4:04-cr-40021-MJR                   Document 189 Filed 05/09/05                  Page 2 of 6        Page ID
                                                                    #336
A 0 2459       (Rev. 12/03) Judgment in Criminal Case
               Sheet 2 - Imprisonment

                                                                                                        Judgment - Page    2        6
 DEFENDANT:                       DEMETRTUS D. JOHNSON
 CASE NUMBER:                     04-4002 1-004-JLF


                                                                 IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:     200 months as to count 1 and 120 months as to count 2, to run concurrent with one another.




     - The court makes the following recommendations to the Bureau of Prisons:



     [XI The defendant is remanded to the custody of the United States Marshal.
     -

     - The defendant shall surrender to the United States Marshal for this district:
           -     at                                     - a.m.          p.m.     on

           -
           0      as notified by the United States Marshal.

     0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
     -
           -     before 2 p.m. on
           0
           -     as notified by the United States Marshal.

           -
           0     as notified by the Probation or Pretrial Services Office.


                                                                       RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                             to

 a                                                        , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                               BY
                                                                                      DEPUTY UNITED STATES MARSHAL
                Case 4:04-cr-40021-MJR                   Document 189 Filed 05/09/05                    Page 3 of 6        Page ID
                                                                   #337
A 0 245B      (Rev. 12103) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                           Judgment-Page      3                 6
DEFENDANT:                     DEMETRIUS D. JOHNSON
CASE NUMBER:                   04-40021-004-JLF
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term o f :          5 years as to count 1 and 3 years as

 to count 2. to run concurrent with one another.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as detemned by the court.
 - The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
 R
 -     The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
 IX1
 -     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 0
 - The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
 0
 -     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~ay-rnentssheet of thls judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or ad+nister any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the protation officer;
           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
           as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or           history or characteristics and shall permit the probation officer to make such not~ficat~ons      and to confirm the
           defendant s compliance with such notification requirement.
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                                                                #338
A 0 245B   (Rev. 12/03) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                      Judgment-Page    4        6
DEFENDANT:                 DEMETRJUS D. JOHNSON
CASE NUMBER:               04-4002 1-004-JLF

                                         SPECIAL CONDITIONS OF SUPERVISION
     The defendant shall pay any financial penalty that is imposed by this judgment, and
     that remains unpaid at the commencement of the term of supervised release. The
     defendant shall pay the fine in installments of $20.00 per month or 10% of his net
     monthly income, whichever is greater.
     The defendant shall provide the probation officer and the Financial Litigation Unit
     of the United States Attorneys' Office with access to any requested financial
     information. The defendant is advised that the probation office may share financial
     information with the Financial Litigation Unit.
     The defendant shall participate as directed and approved by the probation officer for
     treatment of narcotic addiction, drug dependence, or alcohol dependence, which
     includes urinalysis or other drug detection measures and which may require residence
     and/or participation in a residential treatment facility. Any participation will require
     complete abstinence from all alcoholic beverages and illegal substances. The defendant
     shall pay for the costs associated with substance abuse counseling and/or testing based
     on a co-pay sliding fee scale approved by the U.S. Probation Office. Co-Pay shall never
     exceed the total costs of counseling.
     The defendant shall participate in a program of mental health treatment, as directed
     by the probation officer, to specifically address issues of domestic violence and anger
     management. The defendant shall participate in treatment until such time as the
     defendant is released from the program by the probation officer.
     The defendant shall submit his person, residence, real property, place of business,
     computer, or vehicle to a search, conducted by the United States Probation
     Officers at a reasonable time and in a reasonable manner, based upon reasonable
     suspicion of contraband or evidence of a violation of a condition of supervision.
     Failure to submit to a search may be grounds for revocation. The defendant shall
     inform any other residents that the premises may be subject to a search pursuant
     to this condition.
             Case 4:04-cr-40021-MJR                   Document 189 Filed 05/09/05                     Page 5 of 6           Page ID
                                                                #339
A 0 2458   (Rev. 12/03) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                      Judgment - Page       5            6
 DEFENDANT:                        DEMETRIUS D. JOHNSON
 CASE NUMBER:                      04-40021-004-JLF
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                        -
                                                                         Fine                                 Restitution
 TOTALS            $         200.00                                  $ 750.00                             $



 -
 0 The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case ( A 0 245C) will be entered
      after such determination.

 CI The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
 -
     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise jn
                                                         Y,
     the priority order or percentage payment column elow. However, pursuant to 18 Qs.8. 4 3664&, all nonfederal victnns must be p a ~ d
     before the United States is pald.

 Name of Pavee                                Total Loss*                     Restitution Ordered                    Prioritv or Percenta~e




 TOTALS                              $                                      $


 -     Restitution amount ordered pursuant to plea agreement $

 -     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $ 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 4 3612(g).

 -     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       IX1 the interest requirement is waived for the
       -                                                     1    fine       restitution.

       - the interest requirement for the             fine       El restitution is modified as follows:

 * Findings for the total amount of losses are required under Chapters 109A, 110, 1 1OA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
           Case 4:04-cr-40021-MJR                     Document 189 Filed 05/09/05                    Page 6 of 6           Page ID
A 0 245B   (Rev. 12/03) Judgment in a Criminal Case             #340

                                                                                                         Judgment - Page      6                 6
 DEFENDANT:                 DEMETRILJS D. JOHNSON
 CASE NUMBER:               04-4002 1-004-JLF

                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    g Lump sum payment of $                                 due immediately, balance due




 B    2    Payment to begin immediately (may be combined with                C,      - D, or      g F below); or
 C    g Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                           (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D    o    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    1 Payments are due immediately, through the Clerk of the Court, but may be paid from prison earnings in compliance with the
           Inmate Financial Responsibility Program. Any Financial penalties that remain unpaid at the commencement of the term of
           supervised release shall be paid at the rate of $20.00 per month or 10% of defendants monthly NETearnings,
           whichever is greater.

 F    2    Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has express1 ordered otherwise, if this judgment imposes imprisonment, ent of criminal monetary penalties is due durin
                               Y                                                             K"K"
 imprisonment. All crlmina monetar penalties, except those payments made throug t e Federal Bureau of Prisons' Inmate Financia
 Responsibility Program, are made to J e clerk of the court.
                                                                                                                                                    7
 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 -
 0    Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 -
 0     The defendant shall pay the cost of prosecution.
 -     The defendant shall pay the following court cost(s):
 -     The defendant shall forfeit the defendant's interest in the following property to the United States:




                                                        1
 Payments shall be applied in the folloying order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitutlon, (7) pena tles, and (8) costs, including cost of prosecution and court costs.
